Case 1:20-cv-00426-LEW Document 51 Filed 06/08/22 Page 1 of 2                 PageID #: 1013




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


BRIAN P. LEAVITT and AMANDA L.
RIENDEAU,

              Plaintiffs,
v.
                                                       Civil Action No. 1:20-cv-00426-LEW
SONOCO HEALTH AND GROUP BENEFITS
PLAN, SONOCO PRODUCTS COMPANY,
and METROPOLITAN LIFE INSURANCE
COMPANY,

              Defendants.


                DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION
                  TO MODIFY THE ADMINISTRATIVE RECORD

        Defendants Sonoco Health and Group Benefits Plan and Sonoco Products Company

(“Sonoco Defendants”) and Metropolitan Life Insurance Company (“MetLife”) (collectively

Sonoco Defendants and MetLife are “Defendants”) hereby assent to the Court’s review of

Defendants’ respective discovery responses (Dkt. 50-1) in connection with the parties’ Motions

for Judgment on the Record for Judicial Review, which are due to be filed on or before July 22,

2022.    Defendants maintain that their assent renders Plaintiffs’ Motion to Modify the

Administrative Record (Dkt. 50) moot.
Case 1:20-cv-00426-LEW Document 51 Filed 06/08/22 Page 2 of 2                     PageID #: 1014




                                              Respectfully submitted,
                                              SONOCO HEALTH AND GROUP BENEFITS
                                              PLAN and SONOCO PRODUCTS COMPANY,

                                              By their attorneys,

                                              /s/ Kevin M. Sibbernsen
                                              Kevin M. Sibbernsen pro hac vice
                                              /s/ K. Joshua Scott
                                              K. Joshua Scott, ME Bar #5282

                                              JACKSON LEWIS P.C.
                                              100 International Drive, Suite 363
                                              Portsmouth, NH 03801
                                              (603) 559-2700 | Main
                                              Kevin.sibbernsen@jacksonlewis.com
                                              kjoshua.scott@jacksonlewis.com

                                              and

                                              METROPOLITAN LIFE INSURANCE
                                              COMPANY

                                              By its attorneys,

                                              /s/ William D. Pandolph, Esq.
                                              William D. Pandolph, Esq. #003996
                                              Sulloway & Hollis, P.L.L.C.
                                              9 Capitol Street
                                              Concord, NH 03301
                                              wpandolph@sulloway.com
                                              TEL: (603) 223-2862
                                              FAX: (603) 224-2557
June 8, 2022


                                CERTIFICATE OF SERVICE
        I certify that on June 8, 2022, this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants.

                                                      /s/ Kevin M. Sibbernsen
                                                      Jackson Lewis P.C.
4871-0560-6179, v. 1




                                                -2-
